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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                            CIVIL MINUTES—GENERAL


 Case No.      EDCV 17-02514-JGB (SHKx)                                   Date: February 12, 2019

 Title: Raul Novoa v. The GEO Group, Inc.



 Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge


                  I. Vazquez                                              XTR Chambers
                Deputy Clerk                                              Court Reporter

     Attorney(s) Present for Plaintiff(s):                     Attorney(s) Present for Defendant(s):
                                                                     Dawn Ellison
             Theodore W. Maya
                                                                     Alexander L. Linhardt
               Andrew Free



 Proceedings:      TELEPHONIC PROCEEDINGS RE: INFORMAL DISCOVERY DISPUTE


        At the request of the parties, the Court held a telephonic conference regarding a discovery
 dispute. Attorney Theodore W. Maya and Andrew Free appeared on behalf of plaintiffs. Attorney
 Dawn Ellison and Alexander L. Linhardt appeared on behalf of defendant. Following discussion
 between the Court and counsel, the Court set a briefing schedule.

         An opening brief, limited to 10 pages in length, shall be filed by plaintiffs’ counsel no later
 than February 19, 2019. A responsive brief, limited to 10 pages in length, shall be filed by
 defendant’s counsel no later than February 26, 2019. An optional reply brief, limited to 5 pages in
 length, may be filed by plaintiffs’ counsel no later than March 4, 2019.

        The Court will take the matter under submission and will notify the parties if an additional
 hearing is necessary.


 IT IS SO ORDERED.




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                                                                             Time in Court                   1:05
